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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 BRENT ELLIOTT WHITE,
                                                               Case No.: 1:23-CV-00861
                         Plaintiff,

                         vs.                                   JOINT NOTICE OF
                                                               SETTLEMENT
 MEGADETH, INC., 5B ARTISTS + MEDIA,
 DAVE MUSTAINE, UNIVERSAL MUSIC
 GROUP, INC., JOHN DOE 1-5, DOE
 CORPORATIONS 1-5,

                         Defendants.


       Plaintiff Brent Elliott White, and defendants Megadeth, Inc., 5B Artists + Media, Dave

Mustaine, and Universal Music Group, Inc., submit this Joint Notice to advise the Court that the

parties have reached an agreement in principle for the resolution of this action, in its entirety. The

parties anticipate filing a stipulation for the dismissal of this action with prejudice within thirty

(30) days hereof, and respectfully request that the Court hold in abeyance all current deadlines in

this action pending the filing of said stipulation for dismissal.




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Dated: May 11, 2023
       New York, New York


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